       Case 2:18-cv-00029-RJS-DBP Document 70-1 Filed 05/14/18 Page 1 of 2
                                                                              RECEIVED CLERK
                                                                                  MAY 14 2018
                                                                             LI S. DISTRICT COURT

                       IN THE UNITED STATES DISTRICT COURT
              IN AND FOR THE DISTRICT OF UTAH, CENTRAL DISTRICT



 AARON J. JOHNSON,                                     [PROPOSED] ORDER ON
                                                    PLAINTIFF'S MOTION FOR AN
                                 PLAINTIFF,
                                                      EXTENSION OF TIME TO
  v.                                                  RESPOND TO EXECUTIVE
                                                     DEFENDANTS RULE 12(b)(6)
 LIEUTENANT GOVERNOR SPENCER                             MOTION TO DISMISS
 COX, ATTORNEY SEAN D. REYES,
 WADE FARRAWAY, DEPARTMENT OF                        CASE NO. 2:18-CV-00029-RJS
 VETERANS AND MILITARY AFFAIRS
 DIRECTOR GARY HARTER, JAMES                            Judge Robert J. Shelby
 BEDINGFIELD, JOI-IN FELLOWS, AND                    Magistrate Judge Dustin B. Pead
 GREG HUGHES,


                              DEFENDANTS,




        The Court takes judicial notice of Plaintiffs Motion For An Extension Of Time To

Respond To Executive Defendants Rule 12(B)(6) Motion To Dismiss under DUCivR 7-l(a)(2)(A)

seeking permission to extend time to file a response prior to the time prescribed. The motion is

granted extending the time to respond by 14 days.


                      BY THE COURT




                      CLERK OF THE COURT
                      UNITED STATES DISTRICT COURT


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     Case 2:18-cv-00029-RJS-DBP Document 70-1 Filed 05/14/18 Page 2 of 2



                                   CERTIFICATE OF MAILING

I certify that on [Monday, May 14, 2018], I filed the foregoing PLAINTIFF'S MOTION FOR AN

EXTENSION OF TIME TO RESPOND TO EXECUTIVE DEFENDANTS RULE 12(b)(6) MOTION TO

DISMISS with the Clerk of the Court. I also certify that a true and correct copy of the foregoing

was placed in outgoing, US Mail, postage prepaid, to the following counsel of record:




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Aaron Johnson

Plaintiff Pro Se




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